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Counsel for Plaintiff

                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

SHOSHONE-BANNOCK TRIBES OF
THE FORT HALL RESERVATION,                     Case No.

               Plaintiff,                      VERIFIED COMPLAINT
       vs.

UNITED STATES OF AMERICA; JOHN
TAHSUDA III, in his capacity as Principal
Deputy Assistant Secretary − Indian Affairs,
Department of the Interior, Bureau of Indian
Affairs (BIA); TWYLA STANGE, in her
capacity as Acting Regional Director, BIA
Northwest Region Office; RANDY
THOMPSON, in his official capacity as
Acting Superintendent, BIA Fort Hall
Agency; BRIAN STEED, in his capacity as
Acting Director, Bureau of Land
Management (BLM); MICHAEL D. NEDD,
in his capacity as Acting Deputy Director,
BLM; PETER DITTON, in his capacity as
BLM Idaho State Director; and, DOES I
THROUGH XCIX,

               Defendants.
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       COMES NOW Plaintiff Shoshone-Bannock Tribes of the Fort Hall Reservation (Tribes)

by and through its attorneys of record William Bacon and Mark A. Echo Hawk, and for causes of

action against the Defendant United States of America, et al., states and alleges as follows:

                                     NATURE OF ACTION

       1.       By this action the Tribes seek to resolve unsettled rights to land that has been

abandoned or relinquished by the Union Pacific Railroad (UPR) in Pocatello, Idaho. The Tribes

want to protect Tribal interests and remove a long-standing obstacle to prudent land use in the

community.

       2.       In 1868 the United States solemnly promised by Treaty to protect the Tribes’

Reservation as the permanent homeland of the Tribes. Despite that promise, UPR’s predecessor

Railroad Company wrongfully took Reservation land for a North South rail line in 1878. The

United States was promptly made aware, but stood by and let it happen.

       3.       After a decade of watching its Treaty promise be trampled, the United States

Congress took action by the Act of 1888 to retroactively give the Railroad Company a limited

right of way for the land it stole from the Tribes. Congress deliberately limited the right of way

by declaring that the land would revert to the Tribes when the Railroad Company ceased using it

for railroad purposes. Congress took precaution to codify the Railroad Company’s future

obligation not to take any more Reservation land by selling or leasing the right of way land for

non-railroad purposes.

       4.       Congress acted to hold the Railroad Company and its successors in interest

accountable, and Congress’ Act of 1888 is still in effect today. By this action the Tribes seek to

enforce that Act and hold the United States accountable to its Treaty promises.




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       5.       Also, the United States and the Railroad Company made a separate deal with the

Tribes in 1882. The deal was for the Tribes to let the Railroad company have a right of way

across the Reservation for an East/West rail line. The United States facilitated the transaction as

the Tribes’ Trustee. The United States did not live up to the deal. Now the Tribes seek to enforce

the Act of 1882.

       6.       The stark reality of current circumstances in the local community is that the lands

in question have clouded titles, buildings and spaces sit vacant, investment and city planning are

hampered by uncertainty, and government agencies are confused with competing claims because

the Acts of 1882 and 1888 have not be respected or enforced. To ameliorate this reality, the

Tribes are asking for a judicial determination that certain lands no longer being used for railroad

purposes have reverted to the Tribes.

       7.       The Tribes hope that through this action, a way will be paved for the United

States to make good on the deal and Treaty promises with the Tribes, and together with the

Tribes overcome the obstacle that stands in the way of cooperation and prudent land use in the

community.

                                         THE PARTIES

       8.       Plaintiff Shoshone-Bannock Tribes of the Fort Hall Reservation is a federally-

recognized sovereign Indian Tribe organized pursuant to the Indian Reorganization Act of June

18, 1934 (48 Stat. 984), as amended by the act of June 15, 1935 (49 Stat. 378).

       9.       Defendant United States of America is a body politic existing pursuant to the

Constitution of the United States, and is trustee and a fiduciary to the Shoshone-Bannock Tribes

of the Fort Hall Reservation pursuant to treaties and related federal statutes. Defendant United

States includes the United States Department of Interior (DOI) and its Bureau of Indian Affairs,




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and other current and former agencies and instrumentalities of the United States government

(collectively United States).

        10.     The United States of America is not an Indian or Indian tribe.

        11.     Defendant John Tahsuda III is an individual named in his official capacity as

Principal Deputy Assistant Secretary – Indian Affairs for the United States Department of the

Interior.

        12.     Defendant Twyla Stange is an individual named in her official capacity as Acting

Regional Director, BIA Northwest Region Office.

        13.     Defendant Randy Thompson is an individual named in his official capacity as

Superintendent for the BIA Fort Hall Agency.

        14.     The BIA is not an Indian or Indian tribe.

        15.     Defendant Brian Steed is an individual named in his official capacity as Acting

Director for the United States Bureau of Land Management.

        16.     Defendant Michael D. Nedd is an individual named in his official capacity as

Acting Director for the United States Bureau of Land Management.

        17.     Defendant Peter Ditton is an individual named in his official capacity as Acting

BLM Idaho State Director.

        18.     The BLM is not an Indian or Indian tribe.

        19.     Does I through XCIX have claims or interests related to the subject land. Plaintiff

does not know the true names of defendants Does I through XCIX, and therefore sues them by

those fictitious names. The actual names and identities of these persons or entities will be

substituted when known.




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       20.     The subject Real Property described by the Act of 1888 and later relinquished by

Union Pacific Railroad Company includes: that certain 3.27 acre parcel relinquished by UPR in

1964 and generally located within the S ½ NE ¼ SEC. 21, T. 7 2., R. 35 E., B.M., Bannock

County, Idaho (3.27 Acres); and, that certain 49.92 acre parcel relinquished by UPR in 1989 and

originally constituting a water pipeline right of way, excepting that portion acquired by the

Pocatello First Corporation of the Church of Jesus Christ of Latter-day Saints in 1960 (City

Creek Trailhead); and, that certain Parking Lot Area generally located from Bonneville Street

north to Wyeth Street and from Union Pacific Avenue/Lewis Street east to the railroad tracks,

situated in a portion of Section 26, and 35 T. 6 S., R. 34 E., B.M., Bannock County, Idaho

(Parking Lot Area); and, that certain Municipal Bus Building, Parking Area and real property

thereunder generally located south of Bonneville Street, east of Harrison Avenue, and west of the

railroad tracks, situated in a portion of Section 35 T. 6 S., R. 34 E., B.M., Bannock County,

Idaho (Bus Depot Building); and that certain Credit Union Building and real property thereunder

generally located at 216 West Whitman Street, Pocatello, Bannock County, Idaho, situated in a

portion of Section 35 T. 6 S., R. 34 E., B.M., Bannock County, Idaho (Credit Union Building).

                                JURISDICTION AND VENUE

       21.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this action

presents a federal question and claim arising under the laws of the United States.

       22.     This Court has original jurisdiction pursuant to the Act of 1882. 22 Stat. 148, 1

Kappler 199.

       23.     This Court has original jurisdiction pursuant to 28 U.S.C. § 1351 because this

action seeks to compel officers of the United States to perform duties owed to Plaintiff.




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        24.     This Court has jurisdiction pursuant to 28 U.S.C. § 1362 because Plaintiff is an

Indian tribe recognized by the Secretary of the Interior and this action arises under the

Constitution, laws, or treaties of the United States.

        25.     This Court has jurisdiction to issue a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

        26.     Pursuant to the 28 U.S.C. § 1381(b) and (e), venue is proper in the Federal

District Court for the District of Idaho because one or more defendants are residents of the State

of Idaho, a substantial part of the events or omissions giving rise to the claims occurred within

this District, and the real property that is the subject of the action is situated in this District.

                                                FACTS

                  History of Shoshone-Bannock Tribes & Fort Hall Reservation

        27.     Since time immemorial, the Shoshone and Bannock people lived as sovereign

Indian tribes in a vast aboriginal territory, including what is now known as Idaho, Oregon,

Nevada, Utah, Wyoming, Montana, and part of Canada.

        28.     In 1868, to be at peace with the United States Government, the Shoshone and

Bannock Tribes entered into a Treaty with the United States, promising to “relinquish all title,

claims, or rights in and to any portion of the territory of the United States, except such as is

embraced within the limits [of the Treaty].” Article 2, Treaty with the Eastern Band Shoshoni

and Bannock, July 3, 1868, 15 Stat. 673, 2 Kappler 1020 (Treaty or Fort Bridger Treaty of 1868).

Treaty attached hereto as Exhibit 1.

        29.     The Treaty was ratified by Congress on February 26, 1869.

        30.     In exchange for acquiring vast lands from the Shoshone and Bannock Tribes, the

United States promised that reservation land, “shall be and the same is set apart for the absolute

and undisturbed use and occupation” of the Shoshone-Bannock Tribes. Treaty, Article 2.


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       31.      In connection with the Treaty, the Fort Hall Reservation (Reservation) was

formally set apart by Executive Orders dated June 14, 1867, and July 30, 1869. Executive Orders

attached hereto as Exhibit 2.

       32.      The Reservation was set apart by the United States as a “permanent home” for the

Tribes. Treaty, Article 2; Executive Orders.

       33.      The United States “solemnly agreed” in the Treaty that no unauthorized person

“shall ever be permitted to pass over, settle upon, or reside [on the Reservation].” Treaty Article

2; Executive Orders.

       34.      The land which is the subject of this civil action was part of the land area that was

set apart by the Treaty and Executive Orders.

                          Nature of Tribal Ownership of the Reservation

       35.      Under the Treaty, the Tribes obtained recognized title to the subject land.

       36.      The Treaty constituted an act of recognition that vested equitable title to the land

in the Tribe.

       37.      The Tribes’ recognized title in the Reservation included the absolute and

exclusive rights to occupy, possess, use, and enjoy the Reservation land.

       38.      At the time of the Treaty, the Tribes’ acquired a split title to the Reservation land,

with the United States holding ‘ultimate title’ or ‘legal title,’ and the tribes holding a ‘title of

occupancy’ with ‘beneficial ownership’ of the land and resources.

       39.      At the time of the Treaty the United States’ ‘ultimate title’ was merely a ‘naked

fee’ title of nominal ownership as Trustee, but little else.

       40.      Beginning after the Treaty and Executive Orders, the Tribes held the entire bundle

of property rights to the Reservation, except for the United States’ legal title as Trustee.




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                                    A Broken Treaty Promise

       41.      In 1878, ten years after the Reservation was first established as the Tribes’

permanent home, and despite the United States “solemn agreement” that no unauthorized person

would “ever be permitted to pass over, settle upon, or reside on the territory,” the Utah &

Northern Railroad built a road and railway from south to north across the Reservation

(North/South line) without permission. 25 Stat. 452, Art. I. See Act of 1888 attached hereto as

Exhibit 3.

       42.      The trespass by the Railroad created tension between the Tribes and the Utah &

Northern Railroad company.

       43.      The Tribes objected to the trespass, but nothing was done by the Bureau of Indian

Affairs to remove the road or North/South line.

                                   East/West Line Expansion

       44.      Four years later, in 1881, the Utah & Northern Railroad announced plans to

construct a main line across Idaho toward the Pacific coast. The proposed route would enter the

Reservation west of Bancroft and pass westward across the Reservation boundary near Bannock

Creek (East/West line).

       45.      Utah & Northern Railroad sought a 100-foot wide right of way across the

Reservation for the East/West line, with 102 acres for various station grounds, totaling

approximately 670 acres.

             The United States was a Necessary Party to the Right of Way Conveyance

       46.      Utah & Northern Railroad was required to work through the United States to

obtain a right of way on the Reservation for the East/West line.




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       47.     The United States was involved in the negotiation and conveyance transaction due

to its legal relationship with the Tribes and related duties, not for the purpose of surreptitiously

become the owner of the Tribal lands without just compensation.

       48.      The United States was participating in the right of way negotiation and

conveyance as a necessary party to the transaction.

       49.     The conveyance of Tribal interest for the East/West line right of way to the Utah

& Northern Railroad, through the United States, was required by 25 USC § 177 (1834).

       50.     The Constitution of the United States and Indian Non-intercourse law applicable

at the time required the Utah & Northern Railroad and the Tribes to involve the United States in

the conveyance.

       51.     The Indian Commerce Clause of the Constitution, Article 1, § 8, cl. 3, provides

that Congress has the power to “regulate Commerce with foreign Nations, and among the several

States, and with the Indian Tribes.”

       52.     Based upon the Indian Commerce Clause of the Constitution, in 1790, Congress

passed an Act defining its substantive rights and duties in the field of Indian affairs, entitled “An

Act to regulate trade and intercourse with the Indian tribes.” Act of July 22, 1790, 1 Stat. 137.

       53.     Section 4 of that Act specifically declared: No sale of lands made by any Indians,

or any nation or tribe of Indians within the United States, shall be valid to any person or persons,

or to any state, whether having the right of preemption to such lands or not, unless the same shall

be made and duly executed at some public treaty, held under the authority of the United States.

Act of July 22, 1790, §4, 1 Stat. 137.

       54.     In 1834, Section 4 was amended so that the restraint on conveyances from

individual Indians was removed. The restraint on tribal conveyances, however, continued. That




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Act has not otherwise been amended since 1834 and reads in part: “No purchase, grant, lease, or

other conveyance of lands, or of any title or claim thereto, from any Indian nation or tribe of

Indians shall be of any validity in law or equity, unless the same be made by treaty or convention

entered into pursuant to the Constitution.”

       55.     Pursuant to 25 U.S.C. § 177, only the United States can extinguish or convey

Indian Tribal lands.

       56.     Under 25 U.S.C. § 177, the United States is required to be involved in approval of

Indian Tribal land conveyances, and it also provides that no one besides the United States has the

authority to negotiate the purchase of any interest in tribal lands.

       57.     In 1881, the Department of the Interior actually conducted negotiations between

the Tribes and the Utah & Northern Railroad, thus fulfilling the requirements of the Indian Non-

Intercourse Act and 25 U.S.C. § 177.

       58.     With regard to the Act of 1882, which ultimately ratified the Agreement reached

in 1881 regarding the East/West line, the United States acted in its necessary intermediary role

between the Utah & Northern Railroad and the Tribes; it was not acting to acquire an interest in

the Tribes’ land for its own gain.

       59.     The legislative history of the Act of 1882 states:

       Mr. HASKELL. Under treaty stipulations with the United States, Secretary
       Kirkwood and the Commissioner of Indian Affairs both thought that the
       Government ought to take in charge the matter of negotiating the right of way,
       and not to allow the railroad company to make any direct trade or contract with
       the Indians.

47 Cong. Rec. H 5004 (Apr. 13, 1882). April 13, 1882 Congressional Record attached hereto as

Exhibit 4.




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       60.     With regard to the Act of 1882, the United States’ legal title as Trustee made the

United States a necessary party for any conveyance of Tribal property rights.

                                   East/West Line Agreement

       61.     On July 18, 1881, a gathering of head men and adult males on the Reservation

agreed to let Utah & Northern Railroad purchase the East/West line right of way for $6,000.00.

       62.     The purpose and terms of the agreement reached on July 18, 1881 are recorded in

the Proceedings of Council, dated July 18, 1881. Proceedings of Council, dated July 18, 1881

attached hereto as Exhibit 5.

       63.     The minutes from the Proceedings of the Council on July 18, 1881 contain the

United States’ representation about the scope and purpose of the request, including: “I will tell

you how many acres will be wanted by the United States for the use of this railroad.”

       64.     The United States asked for the Tribes’ “consent to the road being built” in the

Proceedings.

       65.     A recital in the actual Agreement signed by the Tribes declares the purpose of the

Agreement: “Whereas the [Railroad] has applied for permission to construct a line of railroad

from East to West through the Fort Hall Reservation and the said Indians have consented thereto

and for that purpose have agreed…” Agreement of July 18, 1881, Archives. See Agreement of

July 18, 1881 attached hereto as Exhibit 6.

       66.     The actual Agreement goes on to express that the Tribes were giving up land

interests that would “be hereafter used by the said [Railroad] its successors or assigns, as a right

of way and road-bed.” Agreement of July 18, 1881.

       67.     The Tribes’ agreement was based on the representations of the United States and

Utah & Northern Railroad.




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         68.    A contemporaneous letter from the Department of Interior to the Commissioner of

Indian Affairs about the Agreement reached on July 18, 1881 describes the property rights given

by the Tribes as “so much…as is required by the legitimate and practical uses of the [Railroad].”

Letter to Commissioner of Indian Affairs from Secretary Kirkwood, October 1, 1881, attached

hereto as Exhibit 7.

         69.    Conveyance of the Tribes’ entire bundle of property rights in the Reservation land

underlying the proposed route across the Reservation was not legally required in order to allow

for a road and railway right of way.

         70.    The proposal presented to the Tribes for approval in 1881 was inextricably tied to

the request for a railroad right of way.

         71.    In the context of a right of way proposal, the Tribes were asked to give up so

much of their rights of use and occupancy of the subject land as may be necessary to allow for

that railroad use.

         72.    The purpose of the Act of 1882 was to implement the terms of the agreement

reached on July 18, 1881.

         73.    The purpose of the agreement reached on July 18, 1881 was not for the United

States to divest the Tribes of all ownership in the subject land forever.

         74.    Neither the Proceedings of Council—July 18, 1881, nor the actual Agreement of

July 18, 1881 reference any consideration paid by the United States for an interest in Reservation

lands.

         75.    The United States promised the Tribes at the meeting in July 1881 that the

agreement presented to the Tribes would be the same agreement presented to Congress.

Speaking of the Agreement and the Tribes’ wariness of being cheated, the United States’




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representative promised, “That is all down in the paper that they will sign, and that paper will be

taken to Washington—that very paper.” Congress later ratified the 1881 Agreement presented to

the Tribes, saying, “…and the same is hereby ratified and confirmed…” Proceedings of Council,

dated July 18, 1881.

                                      Act of 1882—Purpose

       76.     The agreement reached on July 18, 1881, was ratified by the Act of July 23, 1882,

22 Stat. 148; 1 Kappler 199 (July 3, 1882). Act of 1882 attached hereto as Exhibit 8.

       77.     The Act of 1882 states, in relation to Utah & Northern Railroad Company’s

application “for permission to construct a line of railroad from east to west through the Fort Hall

Reservation” that the Tribes for “that purpose have agreed, for the consideration hereinafter

mentioned, to surrender to the United States their title to so much of land comprised in said

reservation as may be necessary for the legitimate and practical uses of said road.”

       78.     The Tribes “ceded to the United States that part of the Reservation” described

therein, “the same being intended to be hereafter used by the said Utah and Northern Railroad

Company as a right of way and road bed, containing by actual survey six hundred and seventy

acres.” Act of 1882.

       79.     The Tribes also ceded “the several pieces or parcels of land situate[d] and

adjoining the said strip of land…the same being intended to be used by the said Utah and

Northern Railroad Company, its successors and assigns, for depots, stations,…containing by

actual survey, one hundred and two acres, more or less.” Act of 1882.

       80.     The legislative history of the Act of 1882 confirms that “[i]t is a bill merely to

give the right of way through the Fort Hall Indian Reservation in Idaho to the [Railroad].

Accordingly, the assistant attorney-general of the Interior Department was detailed by that




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Department, and sent out upon the Reservation to confer with the Indians and with the railroad

company for this right of way.” 47 Cong. Rec. H 5004, X233, Volume 13, 47th Congress, 1st

Session, 2859. Legislative history of the Act of 1882 includes discussion between

Representatives illustrating that it was only a bill for a right of way, not a complete divestment of

all Tribal interests in the subject land:

        Mr. HASKELL. Mr. Speaker, this is a bill which was drawn by the Interior
        Department at the Office of the Commissioner of Indian Affairs, by him agreed
        to, and by the President transmitted to Congress. It is a bill merely to give the
        right of way through the Fort Hall Indian reservation in Idaho to the Utah and
        Northern Railroad, a branch of the Union Pacific Railroad, which proposes to
        extend a line of railroad northwesterly through this Shoshone and Bannock
        reservation.
        Mr. SPARKS. This, as I understand, is only as to a right of way.
        Mr. HASKELL. That is all.
        Mr. SPARKS. Then let us vote for it.

Id., Exhibit 4.

        81.       The purpose of the Act of 1882 was not for the United States to divest the Tribes

of all ownership in the subject land forever.

        82.       The Act of 1882 characterizes the conveyance as “a sale of a portion of [the

Tribes] reservation in Idaho Territory required for the use of the Utah and Northern Railroad.”

Act of 1882, 22 Stat. 148.

        83.       The United States’ Solicitor has concluded previously that the purpose for the

Tribes’ conveyance of land interests in the Act of 1882 was limited: “The fifth paragraph makes

clear the purpose for the cession: ‘the same being intended to be hereafter used by the said Utah

and Northern Railroad Company, its successors or assigns, as a right of way and road bed;’” and,

“The sixth paragraph explains that the other adjoining marked lands referred to are, ‘intended to

be used by the said …[railroad], its successors and assigns, for depots, stations, sidings, and so




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forth;’” and, “It is clear that the conveyances were for rights of way.” Solicitor’s Opinion, Dept.

of Interior, Nov. 29, 2005, p.1, 3 attached hereto as Exhibit 9.

          Act of 1882—Consideration from Railroad Company, Not the United States

       84.     In consideration for the conveyance of Tribal interest in the lands, the Tribes were

paid the sum of six-thousand dollars ($6,000), at the rate of $7.77 per acre, deposited into the

United States Treasury to the credit of the Tribes, to bear interest at five percent per annum.

       85.     The $6,000 paid to the Tribes came from Utah and Northern Railroad Company.

The Act of 1882, Section 3, required that “the Company, its successors or assigns, shall, within

ninety days from the taking effect of the act, pay to the Treasurer of the United States said sum

of six thousand dollars.” Act of 1882.

       86.     By the express terms of Section 3 of the Act, the $6,000 paid by the Utah and

Northern Railroad Company was “hereby appropriated to be paid by the United States for the

lands relinquished to the United States by [the Agreement of 1881].” Act of 1882.

       87.     The payment of $6,000 by the Railroad Company, and the appropriation of that

$6,000 to the credit of the Tribes was an express condition of the Railroad Company’s ability to

use the right of way land. Act of 1882, Section 3.

       88.     The United States did not pay consideration to the Tribes for the conveyance of

land by the Tribes, in addition to the $6,000 paid by the Railroad Company.

       89.     The only consideration given to the Tribes for the conveyance of land subject to

the Act of 1882 was paid by the Railroad Company.

       90.     Legislative History of the Act of 1882, Report No. 659, which accompanied H.R.

5004, reads: “It will be observed that, although by the agreement the United States is required to

place $6,000 to the credit of the Indians, this money is in reality paid by the railroad company, so




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that by this transaction the government is not subjected to any actual outlay of money.” H.R.

Rep. No. 659, at 2 (1882).

       91.       The Tribes were only paid for what the Railroad Company was given–a limited

right of way.

       92.       Without paying consideration in addition to the $6,000 paid by the Railroad

Company, the United States could not acquire more land interests than what the Railroad

Company obtained. The United States is required to pay compensation when it takes tribal title

recognized by treaty or statute.

       93.       When Congress takes Tribal property, the fifth amendment of the Constitution

requires the payment of compensation. U.S. Constitution, Amendment V.

       94.       Where Congress by treaty has declared that the Tribes were to hold the

Reservation lands permanently, compensation must be paid for subsequent taking.

       95.       The Shoshone-Bannock Tribes were promised by the Treaty that they would

permanently hold the subject land, so compensation by the United States was required if the

United States intended to acquire any rights in addition to the right of way interest conveyed to

the Railroad Company.

       96.       As Trustee of the Tribes’ land interests, the United States cannot lawfully convert

the corpus of the trust—Reservation lands—to its own use or the dispose of the trust corpus to

private corporations, municipalities, or individuals.”

                  Act of 1882—Consideration Misappropriation by United States

       97.       At the time of the Agreement of July 1881, and the ratifying Act of 1882, the

United States was already under previous obligation to pay to the Tribes certain annuities based

on the Treaty.




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       98.     The consideration owed to the Tribes under the Act of 1882 was “to be in addition

to any and all sums to which the [Tribes] [were] entitled by Treaty.” Act of 1882, Section 1.

       99.     An accounting of the Treaty annuities to the Tribes is included in the General

Services Administration Report (GSA Report) generated pursuant to the Petition of the

Shoshone-Bannock Tribes of the Fort Hall Reservation, Idaho, Indian Claims Commission No.

326-C. (Washington, D.C., USA: Nation Archives and Records Center, 1968). GSA Report

attached hereto as Exhibit 10.

       100.    The $6,000 consideration for the railroad right of way was appropriated by

Congress to the Tribes under the heading “Shoshone and Bannock Fund.” GSA Report, 28.

       101.    According to a GSA Report, the United States failed to comply with the Act of

1882 because it did not pay the $6,000 to the Tribes in addition to all other sums to which the

Tribes were entitled by Treaty.

       102.    The United States did not separate, earmark, or appropriate the $6,000.00

consideration payment for the railroad right of way to the Tribes’ credit in a manner that ensured

it would be expended for costs the United States was not already obligated to pay. Instead, the

United States used the $6,000 to pay for pre-existing Treaty obligations, thus saving itself from

having to spend its own funds on Treaty obligations.

       103.    The disbursements made directly to the Tribes show no payment of $6,000.00 to

the Tribes. GSA Report, 34-35.

       104.    The GSA Report demonstrates that the $6,000 consideration for the right of way

money was used to provide for things such “Industrial Assistance, Irrigation, Provisions, etc.”

GSA Report, 35.




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       105.    “Industrial Assistance, Irrigation, Provisions, etc.” were items that the federal

government was already providing to the Tribes pursuant to Treaty obligations.

       106.    The day after the Act of 1882 was passed, Utah & Northern Railroad sold its

interest to Oregon Short-Line Railroad company for $6001.00.

       107.    Utah & Northern Railroad Company and Oregon Short-Line Railroad Company

are predecessors in interest to Union Pacific Railroad Company (UPR).

       108.    The Shoshone-Bannock Tribes have a reversionary interest in right of way lands

granted under the 1882 Act of Congress, 22 Stat. 148; 1 Kappler 199 (July 3, 1882).

                             Agreement of 1887 for North/South Line

       109.    After the Agreement of 1881, the Tribes continued to complain about the

unauthorized trespass of the Railroad Company in 1878.

       110.    On May 27, 1887, Tribal leaders and adult males met to consider granting a

formal right of way to the Railroad Company the North/South rail line that had already been

established, as well as a town site at the Pocatello junction.

       111.    The representations made to the Tribes at the meeting on May 27, 1887 are

recorded in the Proceedings of Council, May 27, 1887. Proceedings of Council, May 27, 1887

attached hereto as Exhibit 11.

       112.    The Tribes were told that the United States was acting as trustee to protect Tribal

interests, including that the United States “would look out for the Indians as a Father, to protect

their rights.” Proceedings of Council, May 27, 1887.

       113.    The United States’ agents also represented, and directed that “[o]ur work is to see

that you are not imposed on, or wronged, in fact, as I have told you for the last 15 months, it is

my duty at all times and under all circumstances, to see you and look after you, to guide you in




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doing right, and in this matter I expect you to give full and free consent.” Proceedings of

Council, May 27, 1887.

       114.    The Tribes were specifically told they were only negotiating a right of way during

the Proceedings of Council, May 27, 1887.

       115.    In response, Tribal leaders explained that they did not want to sell forever, but

wanted long-term ownership of the land. One of the Tribal leaders, said: “I do not want to sell

right off, want to send a letter to Washington first. We Bannocks have the first right to this land,

and we want to stay on it. [] Just one word and then I will be done. God sees we run here under

all good, and we do not want to sell everything. That is all, if I talk any more I will be telling

lies.” Proceedings of Council, May 27, 1887.

       116.    The Tribes were then compelled to agree by coercive tactics, including the United

States’ agent’s question: “Are you ready to make such an agreement, or do you want the railroad

company to use the land the same as they have been doing, for nothing? That is the question.”

Proceedings of Council, May 27, 1887.

       117.    The United States’ agent represented to the Tribes that they would become the

richest Indians in America if they agreed: “[I]] told you time and time again, that this is a matter

for you to settle, and if you do satisfactorily, I will make you the richest Indians in America.”

Proceedings of Council, May 27, 1887.

       118.    The United States’ agent told the Tribes they would be starved if they did not

agree to the right of way: “There is not a better Bannock on the hill than old Propakura, but I tell

him ‘friend, you will keep hungry if you continue to do what you have been doing today, and I

am sorry for you and now you must do as you please, and if you propose to do as you said, you I




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will pledge you my word, you will see nothing but starvation before you.” Proceedings of

Council, May 27, 1887.

       119.     The United States’ agent told the Tribes it was their duty to sell the land and that

they owed it to their children: “Gibson Jack, through interpreter: ‘If we want to back out of what

we said the other day about selling the land at Pocatello, would it make any difference to the

Government, would we be doing right, or wrong?’ Mr. Gardiner: ‘you ask me as your friend and

I will tell you very plainly you are doing wrong. The white people are settling down very closely

and they are coming in right along. As quick as the Agents back is turned, the white man squats

down and builds a shanty. And my friends, you must look at things with another pair of eyes

than in the past, you are living in an age of progress. The buffalo, the deer and elk are all gone,

and how are you to subsist; you have the land but you cannot eat it. It is your duty to place

yourself in a position to sell the land. You owe it to your children.’” Proceedings of Council,

May 27, 1887.

       120.     Nothing in the minutes of the Proceedings of Council, May 27, 1887 shows that

the United States explained to the Tribes that they would not end up with the right of way lands

after they were no longer used for railroad purposes.

       121.     Nothing in the minutes of the Proceedings of Council, May 27, 1887 shows that

the United States explained to the Tribes that the United States was going to receive Tribal lands

for no consideration after the Railroad Company was done using the land.

       122.     The United States is bound to uphold the Agreement as the Tribes understood it,

and as represented to the Tribes in the Proceedings of Council, May 27, 1887.

       123.     The Agreement reached on May 27, 1887, was accepted and ratified by Congress

on September 1, 1888.




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       124.    The very same “agreement made and entered into by the United States of America

[on May 27, 1887], represented as therein mentioned, with the Shoshone and Bannack Indians

resident in the Fort Hall Reservation, [was] accepted, ratified, and confirmed” by the Act of

1888. 25 Stat. 452.

                                       Act of 1888—Purpose

       125.    On September 1, 1888, Congress ratified the agreement, granting a right-of-way,

running from the Reservation’s northern boundary to the southern boundary. 25 Stat. 452; 1

Kappler 292.

       126.    The general purpose of the Act of 1888 was “for the surrender and relinquishment

to the United States of a portion of the Fort Hall Reservation, [] for the purpose of a town-site,

and for the grant of a right of way through said reservation to the Utah and Northern Railway

Company.” Act of 1888.

       127.    A specific and express purpose of the 1888 Act was to right the wrong done by

Utah & Northern Railroad’s trespass on the Reservation ten years earlier.

       128.    Congress expressly pointed out in the preliminary Article of the 1881 Act, as

context for the rest of the Act’s provisions:

       “Whereas in or about the year 1878 the Utah and Northern Railroad Company
       constructed a line of railroad running north and south through the Fort Hall
       Reservation, and has since operated the same without payment, or any
       compensation whatever to the Indians, for or in respect of the lands taken for right
       of way and station purposes; and
       Whereas the treaty between the United States and the Shoshone and Bannack
       Indians, concluded July 3, 1868, under which the Fort Hall Reservation was
       established, contains no provisions for the building of railroads through said
       reservation, now therefore…” 25 Stat. 452, Article I.




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                                Act of 1888—Subject Land

          129.   The Act of 1888 ratified the Tribes’ agreement to give up certain interests “an

area of eighteen hundred and forty (1840) acres” for the Pocatello townsite. Act of 1888, Art. I.

          130.   The legal description for the 1840 acres included the area within which the 102

acres previously given under the Act of 1882 for depots and stations was located. Act of 1888,

Art. I.

          131.   The provisions of Article III, Section 11 of the Act of 1888 apply to all the lands

encompassed by the legal description of the 1840 acres identified in Article I of the Act of 1888.

Act of 1888.

          132.   The Act of 1888 “granted to the said Utah and Northern Railway Company a right

of way not exceeding two hundred feet in width (except such portion of the road where the Utah

and Northern and the Oregon Short-Line Railways run over the same or adjoining tracks, and

then only on hundred feet in width) through the lands above described, and through the

remaining lands of the Fort Hall Reservation, extending from Blackfoot River, the northern

boundary of said reservation, to the southern boundary thereof.” Act of 1888, Art. III, Section

11.

          133.   In addition, the Act of 1888 gave the Railway Company a right of way to

“grounds adjacent thereto for station buildings, depots, machine shops, side-tracks, turn-outs, and

water-stations, not to exceed in amount twenty acres for each station, to the extent of one station

for each ten miles of its road, according to maps and plats of definite location.” Act of 1888,

Art. III, Section 11.

          134.   Also, the Act of 1888 gave the Railway Company a right of way near its station at

Pocatello, “for its use for station grounds, depot buildings, shops, tracks, side-tracks, turn-touts,




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yards, and for water purposes, not to exceed one hundred fifty acres, as shown by maps and plats

of the definite location thereof.” Act of 1888, Art. III, Section 11.

                        Act of 1888—United States was a Necessary Party

       135.     The United States was not involved in the negotiation or conveyance transaction

in May 27, 1887 in order to surreptitiously become the owner of the Tribal lands without just

compensation to the Tribes.

       136.     The United States was participating in the right of way negotiation and

conveyance contemplated by the Act of 1888 as a necessary party to the transaction.

       137.    The conveyance of Tribal interest for the North/South line right of way to the

Utah & Northern Railroad, through the United States, was required by 25 USC 177 (1834).

       138.    The Constitution of the United States and Indian Non-intercourse law applicable

at the time required the Utah & Northern Railroad and the Tribes to involve the United States in

the conveyance for the North/South line right of way.

       139.    In 1887, the Department of the Interior actually conducted negotiations between

the Tribes and the Utah & Northern Railroad, thus fulfilling the requirements of the Indian Non-

Intercourse Act and 25 U.S.C. § 177.

       140.    With regard to the Act of 1888, which ultimately ratified the Agreement reached

in 1887 regarding the North/South line, the United States acted in its necessary intermediary role

between the Utah & Northern Railroad and the Tribes; it was not acting to acquire an interest in

the Tribes’ land for its own gain.

       141.    With regard to the Act of 1888, the United States’ legal title as Trustee made the

United States a necessary party for any conveyance of Tribal property rights.




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                        Act of 1888—Consideration for Railroad Right of Way

        142.       The Act of 1888 ratified the Tribes’ agreement to accept as consideration for the

railroad right of way, payment by the Utah and Northern Railway Company “to the Secretary of

the Interior for their use and benefit of the sum of ($8.00) eight dollars for or in respect of each

and every acre of land of the said reservation, taken and used for the purposes of its said

railroad.” Act of 1888, Art. II.

        143.       In exchange for the consideration paid by the Utah and Northern Railway

Company, the Company became “entitled to a right of way not exceeding two hundred (200) feet

in width, through said reservation.” Act of 1888, Art. II.

        144.       In addition, for the one hundred and fifty acres near its Pocatello townsite station,

the Railway Company was obligated to pay, “in addition to the eight dollars per acre provided in

[the Agreement], a further sum equal to the average appraisal of each acre of town lots in the

proposed townsite of Pocatello, outside of said one hundred and fifty acres.” Act of 1888, Art.

III, Section 11.

        145.       The Act of 1888, Article III, Section 11 specifically provided that the Railway

Company “pay to the Secretary of Interior, for the use and benefit of the [Tribes], the sum of

eight dollars per acre…, the moneys from this source to be deposited in the Treasury of the

United States, to the credit of the [Tribes], bearing interest at five per centum per annum.” Act of

1888, Art. III, Section 11.

        146.       The United States did not pay any consideration to the Tribes for any interest in

lands subject to the Act of 1888; the $8.00 per acre for the railroad right of way referenced in the

Act of 1888 was paid by the Railroad Company.




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          147.   The $8.00 per acre for the railroad right of way, and the further per-acre, average

appraisal sum for any town lots near the Pocatello station used by the Railway Company were

used by the United States to satisfy pre-existing Treaty obligations the United States owed to the

Tribes.

                                Act of 1888—Reversion Conditions

          148.   Article III, Section 11 of the Act of 1888, imposed conditions on the Railway

Company’s right of way. Act of 1888.

          149.   One of the reversion express conditions imposed on the Railway Company’s right

of way is expressed in the first Proviso of Article III, Section 11, which states that “all lands

acquired by said railway company near its station at Pocatello for its use for station grounds,

depot buildings, shops, tracks, side-tracks, turn-outs, yards, and for water purposes, as

hereinbefore provided, shall, whenever used by said railway company, or its assigns, for other

purposes, be forfeited and revert to the United States, and be subject to the other provisions of

this act.” Act of 1888, Art. III, Section 11.

          150.   Another express reversion condition imposed on the Railway Company’s right of

way is expressed in the third Proviso of Article III, Section 11, which states, “and provided

further, that no part of the lands herein authorized to be taken shall be leased or sold by the

company, and they shall not be used, except in such manner and for such purposes only as shall

be necessary for the construction, maintenance, and convenient operation of a railway, telegraph

or telephone lines, and when any portion thereof shall cease to be so used, such portion shall

revert to the tribe or tribes of Indians from which the same shall have been taken, or in case they

shall have ceased to occupy said reservation, to the United States; and the construction,

maintenance, and operation of said railway shall be conducted with a due regard for the rights of




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the Indians, and in accordance with such rules and regulations as the Secretary of the Interior

may make to carry out this provision.” Act of 1888, Art. III, Section 11.

        151.    The third Proviso does not make exception for ‘station ground land’ but

encompasses all lands authorized to be taken under the Act. In this regard, the Department of

Interior has opined that, “the language of the Third Proviso [] applies generally to the entire

grant.” Department of Interior Memo, June 17, 1960. Thus, all land that was conveyed under the

Act of 1888 is thus subject to the third Proviso’s broad coverage.

        152.    The third Proviso applies to any lands ‘leased or sold by the company’ for non-

railroad purposes.

        153.    A further express reversion condition imposed on the Railway Company’s right of

way is contained in Article III, Section 15, which states: “That the said Utah and Northern

Railway Company shall accept this right of way upon the expressed condition, binding upon

itself, its successors and assigns, that they will neither aid, advise, nor assist in any effort looking

towards the changing or extinguishing the present tenure of the Indians in their remaining lands,

and will not attempt to secure from the Indian tribes any further grant of land or its occupancy

that is hereinbefore provided: Provided, that any violation of the condition mentioned in this

section shall operate as a forfeiture of all the rights and privileges of said railway company under

this act.” Act of 1888, Art. III, Section 15.

        154.    The Shoshone-Bannock Tribes have a reversionary interest in right of way lands

granted under the 1888 Act of Congress.

                       Relinquishment of Lands by Union Pacific Railroad

        155.    The Union Pacific Railroad Company (UPR) is a successor and assign of the Utah

and Northern Railway Company, and the Oregon Short-Line Railroad Company.




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       156.   UPR has affirmatively and formally relinquished two parcels of land pursuant to

the Act of 1888.

       157.   On June 30, 1964, UPR and Oregon Short-Line Railroad Company executed a

formal relinquishment of 3.27 acres of land subject to the Act of 1888. The relinquishment was

expressly made pursuant to the Act of 1888. 1964 Relinquishment attached hereto as Exhibit 12.

       158.   The 1964 relinquishment partially reads “The undersigned, Oregon Short Line

Railroad Company, and its Lessee, Union Pacific Railroad Company, hereby relinquish to the

United States of America any and all rights to a certain strip of land near Pocatello, Bannock

County, in the State of Idaho…obtained as successor in interest to the Utah and Northern

Railway Company under the Act of Congress of September 1, 1888 (25 Stat. 452).” 1964

Relinquishment.

       159.   On July 28, 1964, UPR sent correspondence to the Land Office Manager of the

BLM in Boise, Idaho, enclosing the signed Relinquishment of Right of Way located in Section

21, T.7 S., R. 35 E, B.M., Bannock County, Idaho. UPR Letter, July 28, 1964, attached hereto as

Exhibit 13.

       160.   Certified copies of Resolutions adopted by the UPR Executive Committee on

June 25, 1964 and the Oregon Short Line Railroad Company Executive Committee on July 14,

1964 authorizing execution and delivery of the Relinquishment were also enclosed with the July

28, 1964 letter. UPR Letter, July 28, 1964.

       161.   After receiving and reviewing the 1964 Relinquishment, on February 11, 1965,

the Idaho Land Office sent a Decision to Oregon Short Line Railroad Company and Union

Pacific Railroad Company entitled “Partial Relinquishment Accepted” and indicated that the




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“terms of the right-of-way have been complied with and the partial relinquishment is accepted.”

February 11, 1965 Decision attached hereto as Exhibit 14.

       162.    The 3.27 acres of relinquished land is in not in the possession of the Tribes.

       163.    The 3.27 acres of relinquished land is not in the possession of the United States.

       164.    UPR claims no interest in the 3.27 acres of relinquished land.

       165.    The Tribes have a reversionary interest in the 3.27 acres of relinquished land.

       166.    The 3.27 acres of relinquished land or part thereof appears to have been deeded to

an individual, on Bannock County Parcel Report, Parcel Number R4013033100, Deed 140526.

       167.    On December 6, 1989, UPR sent correspondence to the BLM Pocatello Resource

Area giving notice of partial relinquishment of rights. Letter of Notice, December 6, 1989,

attached hereto as Exhibit 15.

       168.    In its December 6, 1989 Letter of Notice, UPR communicated that its review of

Section 11 of said Act (of 1888):

       “indicates that the right-of-way the Railroad elects to relinquish reverts to the
       United States in accordance with the provisions contained therein, which state:
       ‘when any portion thereof shall cease to be used, such portion shall revert to the
       tribe or tribes of Indians from which the same shall have been taken, or in case
       they shall have ceased to occupy said reservation, to the United States.’”

Letter of Notice, December 6, 1989.

       169.    The December 6, 1989 Letter of Notice concludes “THEREFORE, please be

advised that by this letter and on behalf of the Union Pacific Railroad Company as successor to

the Utah and Northern Railway Company, I do hereby respectfully request that certain area

comprising 49.92 acres, more or less, as shown on that certain map or plat marked ‘Exhibit VIII,

Pocatello’”. Letter of Notice, December 6, 1989.




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         170.   UPR sent correspondence to the Portneuf Greenway Committee on May 23, 1991

confirming that UPR’s right-of-way had been relinquished in 1989. May 23, 1991 Letter

attached hereto as Exhibit 16.

         171.   The land relinquished in 1989 is in not in the possession of the Tribes.

         172.   The land relinquished in 1989 is in the possession of the United States, except for

that portion of the 49.92 acres conveyed by Public Law 86-784 on September 14, 1960.

         173.   Neither UPR nor any railroad company claims any interest in land relinquished in

1989.

         174.   The Tribes have a reversionary interest in the land relinquished in 1989, except

for that portion of the 49.92 acres conveyed by Public Law 86-784 on September 14, 1960.

         175.   The Bureau of Land Management (BLM) controls the lands relinquished in 1989,

except for that portion of the 49.92 acres conveyed by Public Law 86-784 on September 14,

1960, pursuant to a Land Management Plan (referred to hereinafter as City Creek Trailhead

area).

         176.   The BLM Pocatello Field Office has issued two right of way authorizations within

the relinquished City Creek Trailhead area, including IDI-29795, which is a FLPMA grant issued

on 4/6/1994 to James and Mary Lagos for a lawn and garden site and a shed, expiring

on 4/6/2024.

         177.   The BLM Pocatello Field Office also issued IDI-29271, which is a FLPMA grant

issued on 3/29/1993 to the City of Pocatello for the Portneuf Greenway. The Greenway right of

way includes hiking trails and trail head parking, expiring on 3/29/2023.       IDI-29271 attached

hereto as Exhibit 17.




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       178.    The BLM also issued land use authorization IDI-32246, which was issued for a

corner of a home that is built within the land relinquished in 1989, owned by Wei Lun Li, that

has not expired.

       179.    On January 27, 2004, the Tribes sent a letter to the District Manager for the BLM

Upper Snake River District and the Field Manager for the BLM Pocatello Field Office inquiring

about leases of portions of the City Creek Trailhead and water reservation right of way to

individuals for horse grazing, parking areas, yards, out buildings and garages, and asking for help

identifying the status of the rights-of-way granted by the United States. January 27, 2004 Letter

attached hereto as Exhibit 18.

       180.    UPR shows as the owner of the City Creek Trailhead area on Bannock County

Tax Parcel Report, Parcel Number RPCPP098200.

       181.    The Tribes have a reversionary interest in the lands subject to the Act of 1882 or

the Act of 1888 that have been relinquished.

       182.    The Tribes have an enforceable right to have the relinquished lands held in trust

for them, and have a right to record and occupy such lands.

                   Other Lands Sold or Leased by UPR for non-railroad purposes

       183.    Aside from the relinquished lands referenced above, UPR has stopped using

several parts of the right of way lands for railroad purposes.

       184.    UPR stopped using a former railroad building located south of Bonneville Street,

east of Harrison Avenue, and west of the Railroad tracks, situated in a portion of section 35 T. 6

S., R. 34 E., B.M., Bannock County, Idaho, (Bus Depot Building) for railroad purposes.

       185.    The Bus Depot Building was formerly used by Greyhound Lines, Inc., as a bus

terminal.




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        186.    UPR sold the Bus Depot Building to the City of Pocatello for non-railroad

purposes on October 1, 1998, for $1.00. Bill of Sale, Audit No. 209232. Bill of Sale attached

hereto as Exhibit 19.

        187.    UPR also stopped using land underlying Bus Depot Building for railroad

purposes.

        188.    UPR leased the land underlying the Bus Depot Building to the City of Pocatello

beginning on April 18, 1996 for a municipal bus system and parking area, and then leased it

again to the City of Pocatello on March 22, 1999, extending for 20 years. Lease of Property,

209232, Folder 01733-28, attached hereto as Exhibit 20.

        189.    The City of Pocatello abandoned the Bus Depot Building and land thereunder at

least one year ago.

        190.    UPR has not used the Bus Depot Building or land thereunder for railroad

purposes for years.

        191.    The Bus Depot Building is currently vacant.

        192.    The Bus Depot Building and land thereunder are subject to the Act of 1888, or

alternatively to the Act of 1882.

        193.    UPR has stopped using a parking lot area for railroad purposes that is located

from Bonneville Street north to Wyeth Street and from Union Pacific Avenue/Lewis Street east

to the railroad tracks, situated in a portion of section 26, and 35 T. 6 S., R. 34 E., B.M., Bannock

County, Idaho (Parking Lot).

        194.    The Parking Lot includes “four strips or parcels of land adjacent to and easterly of

the first alley easterly of Main Street.”




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       195.    UPR leased the Parking Lot to the City of Pocatello for non-railroad purposes

beginning on March 28, 1936. UPR – City of Pocatello Parking Lot Lease and Extension Riders

attached hereto as Exhibit 21.

       196.    The UPR lease to the City of Pocatello for the Parking Lot was renewed by

extension riders for non-railroad purposes in 1939, 1945, 1946, 1951, 1954, 1957, 1962, 1973,

1989, and 2000.

       197.    The UPR leases included Leases L&T #14749, 11591, Extension Rider 1/4/96,

15177, Extension Rider 9/9/58, Lease 3/22/1999, Lease 7/16/2002, & Lease Audit No. 145568.

       198.    UPR lease rates to the City of Pocatello varied from $1.00 annually, to $250 for

60 months, to $100 per month.

       199.    The Parking Lot is subject to the Act of 1888, or alternatively to the Act of 1882.

       200.    UPR assigned or conveyed a building located at 216 West Whitman Street,

Pocatello, Idaho, Lot 7, Block 435 of Pocatello Town site (Credit Union Building), for a non-

railroad purpose beginning in 1976.

       201.    UPR conveyed the Credit Union Building to Lucy Tomanek, who, by Instrument

No. 558615 on July 20, 1976 conveyed the property to Pocatello Railroad Employees Federal

Credit Union for a non-railroad purpose. Warranty Deed attached hereto as Exhibit 22.

       202.    Bannock County Parcel RPPOC278100 shows that UPR does not own the Credit

Union Building.

       203.    The Credit Union Building is subject to the Act of 1888, or alternatively to the

Act of 1882.

       204.    UPR leased land subject to the Acts of 1882 or 1888 to Ricks Pool & Spa Service

for non-railroad purposes, by lease instrument dated September 25, 2003, Audit No. 204311, and




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amended by Supplemental Agreement, Audit No. 204311, Folder 1636-00, dated December 17,

2013. Supplemental Agreement dated December 17, 2013 attached hereto as Exhibit 23.

       205.    UPR has stopped using the house located at 515 Harrison, in Pocatello, Idaho, for

railroad purposes.

       206.    The house located at 515 Harrison is part of the right of way lands subject to the

Act of 1888, or alternatively to the Act of 1882.

       207.    UPR has sold or leased the house located at 515 Harrison.

       208.    UPR has profited from the sales and leases of lands subject to the Acts of 1882

and 1888 for non-railroad uses.

       209.    By the foregoing sales and leases, UPR engaged in conduct that changed or

extinguished the present rights of the Tribes in the lands subject to those sales or leases.

       210.    By the foregoing sales and leases of the Bus Depot Building, Parking Lot, Credit

Union Building, UPR secured occupancy of the lands subject to such sales and leases by parties

that did not include the United States or the Tribes.

       211.    UPR has sold or leased lands subject to the Act of 1882 for non-railroad purposes.

       212.    UPR has sold or leased lands subject to the Act of 1888 for non-railroad purposes.

       213.    The Tribes have a reversionary interest in the lands subject to the Act of 1882 or

the Act of 1888 that have been sold or leased for non-railroad purposes.

       214.    The Tribes have an enforceable right to have the lands sold or leased for non-

railroad purposes that are subject to the Act of 1882 or the Act or 1888 revert to the Tribes in

trust, and to have the lands recorded in their favor, and to occupy such lands.




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 Official Action by United States regarding Non-Railroad Use Lands Sold or Leased by UPR

       215.    The United States Department of Interior, Bureau of Indian Affairs, Northwest

Regional Office issued written notice to the Union Pacific Railroad Company on January 31,

2012 of particular uses that did not comply with the Act of 1882 or the Act or 1888 (DOI Notice

Letter). DOI Notice Letter, January 31, 2012 attached hereto as Exhibit 24.

       216.    The DOI Notice Letter states,

       “The United States has become aware of several non-complying uses the railroad
       company has made, and continues to make, on this right of way. The railroad
       company has allowed several parcels to be leased or sold, and certain areas are
       being use in ways not necessary to, or related to the running of a railway, or the
       operation of telegraph or telephone lines, and so by operation of the explicit
       Congressional language in the grants, the reversion in the United States has now
       vested in those areas. We, therefore, wanted to notify you that due to this
       automatic reversion, we believe that the areas within the grant that are being used
       for purposes no authorized by the grants have reverted to the United States in trust
       for the Shoshone-Bannock Tribes.”

DOI Notice Letter, January 31, 2012.

       217.    The DOI Notice Letter identified the Bus Depot Building, the Parking Lot, and

the Credit Union building as particular non-complying uses.

       218.    The Tribes have relied to their detriment upon the DOI Notice Letter.

       219.    Upon reaching the conclusions in the DOI Notice Letter about non-complying

uses, the United States had a trust obligation to promptly address the violations.

       220.    Upon reaching the conclusions in the DOI Notice Letter about non-complying

uses, the United States had a duty under the Act of 1888, Article III, Section 11 to promptly

address the violations.

       221.    Upon reaching the conclusions in the DOI Notice Letter about non-complying

uses, the United States had a duty under current BIA Right of Way Regulations to promptly

address the violations.



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       222.    Upon reaching the conclusions in the DOI Notice Letter about the particular

parcels automatically reverting to the Tribes in trust, and property rights being already vested in

the United States, the United States had a duty to promptly record the Tribes’ interest.

                                     Current Status of Tribes

       223.    The Shoshone-Bannock Tribes of the Fort Hall Reservation is a federally

recognized Indian Tribe. 81 FR 5109.

       224.    The Tribes currently occupy the Fort Hall Reservation.

       225.    The Tribes’ Reservation land is defined as including all land within the limits of

any Indian reservation, notwithstanding the issuance of any patent, and, including rights of way

running through the reservation. 18 U.S.C. 1151.

       226.    The Tribes have not expressly ceded or relinquished their reversionary interests in

any subsequent cession agreements.

       227.    The United States federal government has a trust relationship with federally

recognized Indian tribes, including the Shoshone-Bannock Tribes.

         United States Government Positions about the Tribes’ Reversionary Interest

       228.    On several occasions the Tribes’ have sought guidance from their Trustee, the

Bureau of Indian Affairs and Department of Interior Solicitors.

       229.    The United States has taken formal positions on the matter multiple times.

       230.    On June 8, 1928, when asked by the General Solicitor for the Railroad whether

the Railroad could lease or sell right of way lands for railroad purposes, the Assistant

Commissioner of Indian Affairs responded that Section 11 of the 1888 Act absolutely prohibited

the lease and sale of right of way land, even for railroad purposes. June 8, 1928 Letter referenced

in Solicitor’s January 15, 1980 Memorandum, p. 3, attached hereto as Exhibit 25.




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       231.    On March 25, 1960, the BIA Real Property Officer of the BIA Fort Hall Agency,

issued a Memo for the record concluding that in passing the Act of 1900, Congress did not intend

to abrogate provisions of the Act of 1888, and that Section II of that Act was still in full force

and effect. BIA Memo, March 25, 1960, attached hereto as Exhibit 26.

       232.    On April 19, 1962, the Regional Solicitor submitted a memorandum reviewing

the 1882 Act and determining that the Railroad was only granted an easement for the uses and

purposes of the 1881 agreement, with the residual fee title held by the U.S. government.

Solicitor’s Memorandum, April 19, 1962, attached hereto as Exhibit 27.

       233.    On February 9, 1972, Assistant Regional Solicitor of the Department of Interior

Portland Regional Office sent a Memo to the BIA Branch of Real Property Management

acknowledging the Fort Hall Business Council’s request for the Justice Department to file suit to

terminate the right-of-way of UPR through Fort Hall Reservation if UPR does not fully perform

“its representations and responsibilities under the original right-of-way agreement and treaty

with the Indians,” suggesting the Tribes meet with representatives of UPR to attempt to see

whether the differences could be reconciled through negotiations. Solicitor’s Memorandum,

February 9, 1972, attached hereto as Exhibit 28.

       234.    On March 22, 1973, the Portland Regional Solicitor addressed the ownership

status of the land within the railroad right-of-way granted in 1888, concluding that Utah &

Northern Railroad Company had a determinable fee with the right of an absolute owner until the

event which terminates the fee has occurred (i.e., no longer used for railroad purposes) at which

point the land reverts back to the Tribes. Office of Regional Solicitor, Portland, Memorandum,

March 22, 1973 attached hereto as Exhibit 29.




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       235.    On December 30, 1996, the Regional Solicitor for the Pacific Northwest Area sent

a Memorandum to BIA Portland Area Director regarding the right-of-way, stating it was clear

that UPR had the right to use the lands for railroad purposes only, and if UPR was to cease using

the lands for railroad purposes, it would not be entitled to transfer its interest to another entity

other than a successor railroad company. This Memorandum also indicates that the 1882 and

1888 Acts must be read together, and that if the subject lands were no longer to be used for

railroad purposes, UPR would no longer have a possessory interest. Office of Regional Solicitor,

Portland, December 30, 1996 Memorandum, attached hereto as Exhibit 30.

       236.    On September 30, 1999, the Office of the Solicitor, Pacific Northwest Region,

Department of the Interior, sent notice to UPR communicating that UPR was delinquent in its

duties under the Act of 1888 and that the terms of the 1888 Act “are valid today and apply to

UPR will full effect.” See Solicitor’s Letter, September 30, 1999, attached hereto as Exhibit 31.

       237.     On November 29, 2005, the Solicitor’s Office wrote to the Bureau of Indian

Affairs Superintendent addressing both the 1882 and 1888 Acts, and concluded that the 1888

right-of-way clearly expressed a reversionary interest to the Tribes, noting, “one thing is clear;

when the lands cease to be used for railroad purposes, the railroad company forfeits its interest in

the lands” and that the railroad cannot “transfer its interest in the rights of way to a third party

other than another railroad company, the Tribes or the U.S.” Office of the Regional Solicitor

Memorandum, November 29, 2005 attached hereto as Exhibit 9.

       238.    On January 31, 2012, Director of the BIA Northwestern Regional Office, sent

correspondence to UPR regarding non-complying uses of the railroad right-of-way. The January

31, 2012 Letter notified UPR that three areas within the grants (from the Acts ratified in 1882

and 1888) were being used for purposes not authorized by the grants, and “have reverted to the




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United States in trust for the Shoshone-Bannock Tribes.” DOI Notice Letter, January 31, 2012

attached hereto as Exhibit 24.

       239.     The Tribes have relied to their detriment on the positions, guidance, and advice

of the United States.

                                     Tribal Request to Record

       240.    On February 14, 2013, the Tribes informed the United States of two tracts of land

where relinquishment had already occurred, containing the                  exhibits   outlining the

relinquishments. Letter, February 14, 2013, attached hereto as Exhibit 32.

       241.    On September 30, 2013, the Tribes sent correspondence to Randy Thompson,

BIA Fort Hall Agency Superintendent, enclosing a copy of the DOI Notice Letter dated January

31, 2012, identifying the three areas that had already reverted to the United States in trust for the

Shoshone-Bannock Tribes. Letter, September 30, 2013, attached hereto as Exhibit 33.

       242.    In accordance with the DOI Notice Letter, the September 30, 2013 Letter

requested the implementation of the DOI Notice Letter decision, and asked for the

Superintendent to begin the process for recording the Tribes’ interest in the three subject parcels.

Letter, September 30, 2013.

       243.    On September 28, 2015, Chairman Blaine Edmo sent correspondence to BIA Fort

Hall Agency Superintendent Randy Thompson reiterating the Tribes’ request of September 30,

2013 to record the three parcels referenced in the January 2012, DOI Notice Letter. September

28, 2015 Letter attached hereto as Exhibit 34.

       244.    On January 25, 2016, after a meeting in Washington, D.C., counsel for the Tribes

sent the Tribes’ September 30, 2013 request to record to the Department of Interior Solicitor’s




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Office via email, and again reiterated the Tribes’ request to record the two parcels relinquished

by UPR in 1964 and 1989. January 25, 2016 Email attached hereto as Exhibit 35.

       245.    Recently, The Tribes’ Chairman Nathan Small met with representatives of the

Department of Interior and Bureau of Indian Affairs, on April 18, 2018 in Washington D.C.

reiterating the Tribes’ request to record the relinquished parcels again.

               United States’ Unlawful Delay in Addressing the Tribes’ Interests

       246.    The United States has failed to timely respond to the Tribes’ request to record the

Tribes interest in the relinquished parcels or the non-railroad use parcels sold or leased.

       247.    On December 21, 2010 the Tribes sent a litigation assistance request to the US

Department of Justice for the District of Idaho. December 21, 2010 Letter attached hereto as

Exhibit 36.

       248.    On January 25, 2011, the Tribes sent correspondence to BIA Northwest Regional

Director and Fort Hall Agency Superintendent formally requesting BIA provide litigation

assistance through the Office of the Solicitor and the Department of Justice, and enclosed a copy

of the litigation assistance request sent to the Department of Justice on December 21, 2010.

January 25, 2011 Letter attached hereto as Exhibit 37.

       249.    The United States has failed to timely respond to the Tribes’ litigation assistance

request for seven years, despite consistent encouragement from the Tribes.

       250.    On March 3, 2011, a written request was made to the BIA Fort Hall Agency

Superintendent for survey information related to right-of-way land in three areas: 1) north of the

main rail yard to the Reservation boundary, 2) the Inkom station grounds, and 3) the McCammon

station grounds. March 3, 2011 Letter attached hereto as Exhibit 38.




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        251.    The United States has failed to timely respond to the Tribes’ request for survey

assistance related to this matter.

                          COUNT I – DECLARATORY JUDGMENT
                              (Claim against all Defendants)

        252.    Plaintiff incorporates and re-alleges the allegations contained in paragraphs 1

through 251 as though fully set forth herein.

        253.    A substantial controversy exists regarding the status of the Subject Land.

        254.    The Tribes retained a reversionary interest in the Subject Land, and the United

States, as trustee and on behalf of and for the benefit of Plaintiff, retained an interest in the

Subject Land over which an easement was granted to UPR.

        255.    UPR was granted an easement for railroad purposes only.

        256.    UPR no longer uses portions of the easement for railroad purposes, and has

leased, abandoned, relinquished, or purported to convey the subject lands.

        257.    UPR purported to relinquish certain portions of the subject lands to the Bureau of

Land Management (“BLM”).

        258.    Neither the United States nor any of its political subdivisions ever approved the

transfer of any portion of the easement to any third party.

        259.    Plaintiff is entitled to a declaration from this Court that the interest granted to

UPR was an easement, which automatically extinguished when UPR ceased to use the easement

for railroad purposes.

        260.    Plaintiff is entitled to a declaration from this Court that it owns and has a present

possessory interest in the Subject Land that is currently not being used for railroad purposes

under either the 1882 or 1888 Act of Congress.




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          261.   Plaintiff is entitled to a declaration from this Court that any purported transfer of

any interest in any portion of the easement that was not formally approved by the BIA with the

consent of the Shoshone-Bannock Tribes was void ab initio.

          262.   Plaintiff is entitled to a declaration from this Court that UPR’s act of relinquishing

any portion of the easement to the BLM was void ab initio, and that it should have been

conveyed to the Plaintiff or the BIA in trust for the Plaintiff.

          263.   Plaintiff is entitled to a declaration that the easement was for railroad purposes

only, that UPR has ceased to use the Subject Land for railroad purposes, and that the Subject

Land has now reverted to the United States, in trust, for the benefit of the Shoshone-Bannock

Tribes.

          264.   Plaintiff is also entitled to declarations that:

                 a.      The Tribes have a reversionary interest in right of way lands granted under

          the Act of 1882 and the Act of 1888;

                 b.      Any lands that revert to the Tribes pursuant to their reversionary interest

          under either Act are held in trust by the United States;

                 c.      The 1882 and 1888 Acts granted UPR an easement only; and

                 d.      When UPR ceased to use any portion of either easement for railroad

          purposes, UPR’s interest in said portion was extinguished and all right, title, and interest

          reverted to the United States in trust for the benefit of the Shoshone-Bannock Tribes

          automatically by operation of law;

                 e.      The termination of UPR’s easement is based on the act of non-railroad

          use, and not on the legal instrument UPR may choose to use to express relinquishment at

          a time frame UPR may choose;




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                  f.      The Fort Hall Reservation as presently constituted satisfies the

          qualification of the Tribes’ reversionary interest—that the Tribes continue to occupy the

          reservation; and

                  g.      The Bureau of Land Management has no interest or possibility of an

          interest in any portion of the easement by virtue of either the 1882 or 1888 Acts; and

                  h.      Any attempt by UPR to transfer or convey any interest in any portion of

          the easement for non-railroad use to any party, except the United States in trust for the

          Tribes, is void ab initio; and that, any attempt by BLM to transfer or convey any interest

          or license in any portion of the relinquished water reservation parcel for non-railroad use

          is void ab initio.

                         COUNT II – QUIET TITLE – PARKING LOT
                   (Claim against all United States Defendants and Doe Entities)

          265.    Plaintiff incorporates by reference paragraphs 1-264 as though fully set forth

herein.

          266.    The Acts of 1882 and 1888 granted easements to UPR for as long as the land

should be used by UPR, its successors and assigns, for railroad purposes, and UPR accepted the

easement on such condition.

          267.    The easements included ground for “depots, stations, sidings, and so forth,” and

“station grounds, depot buildings, shops, tracks, side-tracks, turn-outs, yards.” On one such

portion of an easement, UPR constructed the Parking Lot.

          268.    UPR ceased using the Parking Lot for railroad purposes in 1936 and began

leasing it to the City of Pocatello for various amounts and various periods of time.

          269.    Neither the United States nor any of its political subdivisions ever approved

transfer of any portion of the easement to any entity for non-railroad purposes.



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       270.    When UPR ceased using the Parking Lot for railroad purposes, its easement was

extinguished by operation of law as to the Parking Lot.

       271.    When UPR’s easement was extinguished as to the Parking Lot, split title to the

property reverted, with legal title being vested in the United States government in trust for the

benefit of the Shoshone-Bannock Tribes, and equitable title being vested in the Tribes.

       272.    After UPR ceased to use the Parking Lot, Plaintiff demanded possession of the

premises. The Defendants failed and refused, and continue to fail and refuse to relinquish claim

to the land and deliver the premises to Plaintiff.

       273.    The Defendants’ conduct of continuing to assert title to the Parking Lot or

undermine Plaintiff’s claim has improperly placed a cloud on Plaintiff’s title, and unlawfully

withheld and retained material benefits that belong to the Shoshone-Bannock Tribes.

       274.    Plaintiff is informed, believes, and thereon alleges that Defendants claim an

interest adverse to Plaintiff’s title to the Parking Lot and as a direct and proximate result of such

claim, has caused a cloud on Plaintiff’s title.

       275.    Defendants’ claims are without merit, and Defendants have no right, title, estate,

lien, or interest superseding Plaintiff’s legal and equitable title to the Parking Lot, aside from

Defendants’ obligation to hold legal title to the property for the benefit of the Tribes.

       276.    The Tribes are entitled to the entry of decree quieting title, and declaring that the

United States holds legal title to the Parking Lot in trust for the benefit of the Shoshone-Bannock

Tribes, with the Tribes holding equitable title, that contrary claims of Defendants are without any

right whatever, and said Defendants have no right, title, estate, lien, or interest superior to the

Tribes in the Parking Lot.




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                   COUNT III – QUIET TITLE – BUS DEPOT BUILDING
                 (Claims against all United States Defendants and Doe Entities)

          277.   Plaintiff incorporates by reference paragraphs 1-276 as though fully set forth

herein.

          278.   The Acts of 1882 and 1888 granted easements to UPR for as long as the land

should be used by UPR, its successors and assigns, for railroad purposes, and UPR accepted the

easement on such condition.

          279.   The easements included ground for “depots, stations, sidings, and so forth,” and

“station grounds, depot buildings, shops, tracks, side-tracks, turn-outs, yards.” On one such

portion of the easement, UPR constructed the Bus Depot building.

          280.   UPR ceased using the Bus Depot Building and land thereunder for railroad, or any

other purpose.

          281.   UPR purported to convey the Bus Depot Building to the City of Pocatello for a

nominal consideration, and also leased the land thereunder to the City of Pocatello.

          282.   Neither the United States, nor any of its political subdivisions, approved any

transfer of any interest in any portion of the Bus Depot Building or land thereunder to another

entity for non-railroad purposes, and the Shoshone-Bannock Tribes never consented to the same.

          283.   When UPR ceased using the Bus Depot Building and land thereunder for railroad,

or any other purpose its easement was extinguished by operation of law as to that portion of the

easement.

          284.   When UPR’s easement was extinguished as to the Bus Depot Building and land

thereunder, split title to the property reverted, with legal title being vested in the United States

government in trust for the benefit of the Shoshone-Bannock Tribes, and equitable title being

vested in the Tribes.



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          285.   After UPR ceased to use the Bus Depot Building and land thereunder, Plaintiff

demanded possession of the premises. The Defendants failed and refused, and continue to fail

and refuse to relinquish claim to the land, and deliver the premises to Plaintiff.

          286.   The Defendants’ conduct of continuing to assert title to the Bus Depot Building

and land thereunder has improperly placed a cloud on Plaintiff’s title, and unlawfully withheld

and retained material benefits that belong to the Shoshone-Bannock Tribes.

          287.   Plaintiff is informed, believes, and thereon alleges that Defendants claim an

interest adverse to Plaintiff’s title to the Bus Depot Building and land thereunder, and as a direct

and proximate result of such claim, has caused a cloud on Plaintiff’s title.

          288.   Defendants’ claims are without merit, and Defendants have no right, title, estate,

lien, or interest superseding Plaintiff’s legal and equitable title to the Bus Depot Building and

land thereunder, aside from Defendants’ obligation to hold legal title to the property for the

benefit of the Tribes.

          289.   The Tribes are entitled to the entry of decree quieting title, and declaring that the

United States holds legal title to the Bus Depot Building and land thereunder, in trust for the

benefit of the Shoshone-Bannock Tribes, with the Tribes holding equitable title, that contrary

claims of Defendants are without any right whatever, and said Defendants have no right, title,

estate, lien, or interest superior to the Tribes in the Bus Depot Building and land thereunder.

                 COUNT IV – QUIET TITLE – CREDIT UNION BUILDING
                  (Claim against United States Defendants and Doe Entities)

          290.   Plaintiff incorporates by reference paragraphs 1-289 as though fully set forth

herein.




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       291.    The Acts of 1882 and 1888 granted easements to UPR for as long as the land

should be used by UPR, its successors and assigns, for railroad purposes, and UPR accepted the

easement on such conditions.

       292.    The easements included ground for “depots, stations, sidings, and so forth,” and

“station grounds, depot buildings, shops, tracks, side-tracks, turn-outs, yards.” On one such

portion of an easement, UPR constructed the Credit Union building and parking lot area located

at 216 West Whitman Street, Pocatello, Idaho, referenced herein as the Credit Union Building.

       293.    UPR ceased using the Credit Union building for railroad purposes. In about 1976

UPR transferred its interest in the Credit Union Building to Lucy Tomanek for non-railroad

purposes. UPR retained all benefits conferred on it by virtue of its transaction with Lucy

Tomanek.

       294.    The Credit Union Building is now claimed by an entity other than UPR and used

as an office for conducting business other than railroad business.

       295.     Neither the United States nor any of its political subdivisions ever approved

transfer of any portion of the easement to any entity for non-railroad purposes.

       296.    When UPR ceased using the Credit Union Building for railroad purposes, its

easement was extinguished by operation of law as to the Credit Union Building.

       297.    When UPR’s easement was extinguished as to the Credit Union Building, split

title to the property reverted, with legal title being vested in the United States government in trust

for the benefit of the Shoshone-Bannock Tribes, and equitable title being vested in the Tribes.

       298.    After UPR ceased to use the Credit Union Building, Plaintiff demanded

possession of the premises. The Defendants failed and refused, and continue to fail and refuse to

relinquish claim to the land and deliver the premises to Plaintiff.




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          299.   The Defendants’ conduct of failing to recognized the Tribes’ title to the Credit

Union Building has improperly placed a cloud on Plaintiff’s title, and unlawfully withheld and

retained material benefits that belong to the Shoshone-Bannock Tribes.

          300.   Plaintiff is informed, believes, and thereon alleges that Defendants claim an

interest adverse to Plaintiff’s title to the Credit Union Building and as a direct and proximate

result of such claim, has caused a cloud on Plaintiff’s title.

          301.   Defendants’ claims are without merit, and Defendants have no right, title, estate,

lien, or interest superseding Plaintiff’s legal and equitable title to the Credit Union Building,

aside from Defendants’ obligation to hold legal title to the property for the benefit of the Tribes.

          302.   The Tribes are entitled to the entry of decree quieting title, and declaring that the

United States holds legal title to the Credit Union Building in trust for the benefit of the

Shoshone-Bannock Tribes, with the Tribes holding equitable title, that contrary claims of

Defendants are without any right whatever, and said Defendants have no right, title, estate, lien,

or interest superior to the Tribes in the Credit Union Building.

                  COUNT V – QUIET TITLE – CITY CREEK TRAIL HEAD
                  (Claims against United States Defendants and Doe Entities)

          303.   Plaintiff incorporates by reference paragraphs 1-302 as though fully set forth

herein.

          304.   The Act of 1888 granted an easement for railroad purposes to UPR in a certain

49.92 acre parcel originally constituting a water pipeline right of way for the railroad operations

(City Creek Trailhead), excepting that portion acquired by the Pocatello First Corporation of the

Church of Jesus Christ of Latter-day Saints under Public Law 86-784 on September 14, 1960.

          305.   UPR ceased using the portion of the City Creek Trailhead for railroad or any other

purpose in approximately 1989.



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        306.     On December 6, 1989, UPR executed a written notice of partial relinquishment of

rights, formally relinquishing all right, title, and interest in the City Creek Trailhead.

        307.     The land relinquished in 1989 is in the possession of the United States Bureau of

Land Management. The Bureau of Land Management (BLM) controls the lands relinquished in

1989, pursuant to a Land Management Plan.

        308.     Neither UPR nor any railroad company claims any interest in the City Creek

Trailhead.

        309.     The Tribes have a reversionary interest in the City Creek Trailhead.

        310.     The United States’ fiduciary responsibilities prevent it from converting tribal

lands to its own benefit.

        311.     The Shoshone-Bannock Tribes did not consent to any relinquishment of any

portion of the City Creek Trail Head to the BLM, nor did the United States at any time provide

any consideration for any portion of the easement.

        312.     Defendants now claim an interest and title to the City Creek Trailhead, and

actually assert possessory rights to the City Creek Trailhead area, contrary to the claims of the

Plaintiff.

        313.     When UPR ceased using the City Creek Trailhead for railroad purposes, its

easement was extinguished by operation of law, and split title to the property reverted, with legal

title being vested in the United States government in trust for the benefit of the Shoshone-

Bannock Tribes, and equitable title being vested in the Tribes.

        314.     UPR’s conduct of attempting to transfer a portion of its interest in the City Creek

Trail Head to BLM was void ab initio and has improperly placed a cloud on Plaintiff’s title.




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       315.    The BLM Pocatello Field Office issued right of way authorizations within the

relinquished City Creek Trailhead area, including IDI-29795, IDI-29271, and IDI-32246, without

the Plaintiff’s consent or approval.

       316.    Plaintiff has demanded ownership and control of the City Creek Trailhead area.

The Defendants failed and refused, and continue to fail and refuse to relinquish claim to the land

and deliver the premises to Plaintiff.

       317.    The Defendants’ conduct of issuing right of way authorizations and undermining

Plaintiff’s title has improperly placed a cloud on Plaintiff’s title, and unlawfully withheld and

retained material benefits that belong to the Shoshone-Bannock Tribes.

       318.    Plaintiff is informed, believes, and thereon alleges that Defendants claim an

interest adverse to Plaintiff’s title to the City Creek Trailhead, and as a direct and proximate

result of such claim, has caused a cloud on Plaintiff’s title.

       319.    Defendants’ claims are without merit, and Defendants have no right, title, estate,

lien, or interest superseding Plaintiff’s legal and equitable title to the City Creek Trailhead area,

aside from Defendants’ obligation to hold legal title to the property for the benefit of the Tribes.

       320.    The Tribes are entitled to the entry of decree quieting title, and declaring that the

United States holds legal title to the City Creek Trailhead in trust for the benefit of the Shoshone-

Bannock Tribes, with the Tribes holding equitable title, that contrary claims of Defendants are

without any right whatever, and said Defendants have no right, title, estate, lien, or interest

superior to the Tribes in the City Creek Trailhead.




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                          COUNT VI – QUIET TITLE – 3.27 ACRES
                   (Claims against United States Defendants and Doe Entities)

          321.   Plaintiff incorporates by reference paragraphs 1-320 as though fully set forth

herein.

          322.   The Act of 1888 granted an easement for railroad purposes to UPR in a certain

3.27 acre parcel, used for a rail spur or turn out area (3.27 Acres).

          323.   UPR ceased using the right of way for the 3.27 Acres for railroad or any other

purpose in approximately 1964.

          324.   On June 30, 1964, UPR and Oregon Short-Line Railroad Company executed a

formal relinquishment of the right of way for the 3.27 Acres of land, and did so expressly

pursuant to the Act of 1888.

          325.   The United States accepted the relinquishment.

          326.   UPR claims no interest in the relinquished 3.27 Acres right of way.

          327.   The Tribes have a reversionary interest in the 3.27 Acres of relinquished land.

          328.   The United States’ fiduciary responsibilities prevent it from converting tribal

lands to its own benefit.

          329.   The Shoshone-Bannock Tribes did not consent to any relinquishment of any

portion of the 3.27 Acres or the right of way to the BLM, nor did the United States at any time

provide any consideration for any portion of the easement.

          330.   Defendants now claim an interest and title to the 3.27 Acres, and actually assert

possessory rights to the 3.27 Acres, contrary to the claims of the Plaintiff.

          331.   When UPR ceased using the 3.27 Acres easment for railroad purposes, its

easement was extinguished by operation of law, and split title to the property reverted, with legal




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title being vested in the United States government in trust for the benefit of the Shoshone-

Bannock Tribes, and equitable title being vested in the Tribes.

       332.    UPR’s conduct of attempting to transfer a portion of its interest in the 3.27 Acres

to any party was void ab initio and has improperly placed a cloud on Plaintiff’s title.

       333.    Plaintiff has demanded ownership and control of the 3.27 Acres. The Defendants

failed and refused, and continue to fail and refuse to relinquish claim to the land and deliver the

premises to Plaintiff.

       334.    The Defendants’ conduct of issuing conveying ownership of the 3.27 Acres, and

undermining Plaintiff’s title has improperly placed a cloud on Plaintiff’s title, and unlawfully

withheld and retained material benefits that belong to the Shoshone-Bannock Tribes.

       335.    Plaintiff is informed, believes, and thereon alleges that Defendants claim an

interest adverse to Plaintiff’s title to the 3.27 Acres, and as a direct and proximate result of such

claim, has caused a cloud on Plaintiff’s title.

       336.    Defendants’ claims are without merit, and Defendants have no right, title, estate,

lien, or interest superseding Plaintiff’s legal and equitable title to the 3.27 Acres area, aside from

Defendants’ obligation to hold legal title to the property for the benefit of the Tribes.

       337.    The Tribes are entitled to the entry of decree quieting title, and declaring that the

United States holds legal title to the 3.27 Acres in trust for the benefit of the Shoshone-Bannock

Tribes, with the Tribes holding equitable title, that contrary claims of Defendants are without any

right whatever, and said Defendants have no right, title, estate, lien, or interest superior to the

Tribes in the 3.27 Acres.




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                             COUNT VII – MANDAMUS
 (Claims against Defendants United States of America, Bureau of Land Management, and
                               Bureau of Indian Affairs)

       338.    Plaintiff incorporates and re-alleges the allegations contained in paragraphs 1-337.

       339.    The Acts of 1882 and 1888 granted easements to UPR for railroad purposes only.

       340.    When UPR ceased to use any portion of the easements for railroad purposes, each

such portion reverted to the United States in trust for the benefit of the Shoshone-Bannock Tribes

by operation of law.

       341.    Some portions of the easement no longer used by UPR its successors or assigns

for railroad purposes are currently included in BLM’s inventory of real property owned by the

United States, because they were purportedly relinquished to the BLM by UPR.

       342.    The Plaintiff has a right to the own, use, and enjoy such non-railroad use parcels.

       343.    BLM has issued various right of way authorizations within those portions of the

easement relinquished to it by UPR.

       344.    The United States and its agencies, including the Department of Interior, owe a

fiduciary duty to the Tribes, and a statutory duty based on the Act of 1888 to protect Plaintiff’s

interests in relinquished and non-railroad use lands.

       345.    As trustee for the Tribes regarding those portions of the easement not being used

for railroad purposes, BLM or the Department of Interior have a duty to transfer each such

portion to the care and control of the BIA, the agency within the Department of Interior tasked

with exercising fiduciary duties and real property management for the benefit of the Tribes.

       346.    The Shoshone-Bannock Tribes have repeatedly asked the Department of Interior

to take action on the Tribes’ behalf to restore them to ownership and possession of the parcels in

question, which it has never done.




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        347.   Because the trustees have failed or refused to act to protect the Tribes’ interests

and have converted the Shoshone-Bannock Tribes’ resources for their own gain and profit, the

Shoshone-Bannock Tribes are without a remedy to prevent alienation of their lands and waste or

conversion of their land resources.

        348.   Issuance of a Writ of Mandamus by this Court ordering the BLM or Department

of Interior to transfer the parcels in question to the property inventory of the BIA, to hold in trust

for the benefit of the Shoshone-Bannock Tribes, and to render litigation and other assistance as

will restore the Shoshone-Bannock Tribes to the use and enjoyment of their lands will effect

justice in these circumstances.

        349.   Issuance of a Writ of Mandamus by this Court ordering BLM to cancel all grants

and rights of way it has wrongfully issued, as well as an order that BLM disgorge to the

Shoshone-Bannock Tribes any benefit received by virtue of issuance of any grant, right of way,

license, or permit within the relinquished parcels, will effect justice in these circumstances;

        350.   The interests of justice and statutory duties require a further Writ of Mandamus

that:

               a.      the BIA and United States immediately approve the Tribes’ litigation

        assistance request regarding related claims in this civil action;

               b.      the BIA immediately record in the Land Titles and Records Office the

        Tribes’ interest in the two parcels relinquished in 1964 and 1989, and the three parcels

        sold or leased known as the Parking Lot, Bus Depot Building, and Credit Union Building;

               c.      the BIA take action to enforce trespass regulations against any non-

        railroad uses of right of way lands granted under the Acts of 1882 or 1888;




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                 d.       the BIA take action to cancel UPR’s right of way for any non-railroad use

          parcels of right of way lands;

                 e.       the BLM immediately transfer the parcel of land relinquished by UPR in

          1989 from its inventory of lands to the BIA, to be held in trust for the Tribes; and,

                 f.       that the BLM conduct a survey of all right of way lands granted under the

          Act of 1882 and the Act of 1888 to ascertain whether there are any non-railroad uses of

          right of way lands.

                      COUNT VIII – BREACH OF TRUST (CONSIDERATION)
                           (Claim against the United States of America)

          351.   Plaintiff incorporates by reference paragraphs 1-349 as though fully set forth

herein.

          352.   The United States of America had a trust obligation and fiduciary duty under the

Act of 1882 to appropriate the consideration for the right of way as a credit to the Tribes, “in

addition to any and all sums to which the above-named Indians [were] entitled by treaty.” Act of

1882.

          353.   The United States did not appropriate the right of way consideration to the Tribes’

credit in addition to sums to which the Tribes were already entitled by the Fort Bridger Treaty of

1868.

          354.   The $6,000 payment from the Railroad Company as consideration for the right of

way granted by the Act of 1882 was used to satisfy pre-existing Treaty obligations of the United

States.

          355.   The United States did not separate, earmark, or appropriate the $6,000.00

consideration payment for the railroad right of way to the Tribes’ credit in a manner that ensured

it would be expended for costs the United States was not already obligated to pay. Instead, the



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United States used the $6,000 to pay for pre-existing Treaty obligations, thus saving itself from

having to spend its own funds on Treaty obligations.

          356.   The disbursements made directly to the Tribes show no payment of $6,000.00 to

the Tribes. GSA Report, 34-35.

          357.   The GSA Report demonstrates that the $6,000 consideration for the right of way

money was used to provide for things such “Industrial Assistance, Irrigation, Provisions, etc.,”

which were items that the federal government was already providing to the Tribes pursuant to

Treaty obligations.

          358.   The United States of America thus violated its specific statutory duty under the

Act of 1882, and related fiduciary obligations to the Tribes.

          359.   The United States’ breach of trust invalidates the quid pro quo contemplated by

the Act of 1882.

          360.   The breach of trust obligation and fiduciary duty damaged the Tribes.

          361.   By the Act of 1882, the Tribes agreed to surrender certain land interests to the

United States. In exchange, the United States promised the Tribes to undertake certain duties

with regard to the consideration paid by the Utah and Northern Railroad Company—post an

extra-treaty amount to the Tribes’ credit, plus 5% interest per annum. Since the United States

failed at its duty, the Tribes’ conveyance to the United States is invalid or void ab initio. The

United States should not be allowed to benefit from its breach of trust by retaining any land

interest to the exclusion of the Tribes in connection with the Act of 1882.

             COUNT IX – BREACH OF TRUST (TRESPASS ENFORCEMENT)
                      (Claim against the United States of America)

          362.   Plaintiff incorporates by reference paragraphs 1-361 as though fully set forth

herein.



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          363.   The United States of America has a trust obligation and fiduciary duty under 25

CFR Part 169 to bring and enforce trespass actions against unlawful occupants of Indian lands.

          364.   The United States is aware that persons other than the Plaintiff are unlawfully

occupying the property that is the subject of this lawsuit.

          365.   The United States has failed to bring or otherwise enforce trespass actions against

those unlawful occupants.

          366.   The United States of America thus violated is specific statutory duty under 25

CFR Part 169 to the Plaintiff.

          367.   The breach of its trust obligations has damaged the Plaintiff.

                                  COUNT X – ACCOUNTING
                           (Claim against the Bureau of Indian Affairs)

          368.   Plaintiff incorporates by reference paragraphs 1-367 as though fully set forth

herein.

          369.   Defendants owe a fiduciary obligation to Plaintiff.

          370.   Defendants have breached their duties owed to Plaintiff.

          371.   Plaintiff has a need to obtain an accounting from the United States for the $6,000

that the United States received from the Utah and Northern Railroad Company in connection

with the 1882 Act, in order to determine whether the United States used the $6,000 it received

for the benefit of the Plaintiff or to pay for pre-existing Treaty obligations.

          372.   Plaintiff has a need to obtain an accounting from the United States for those funds

the United States received from the sale of lands pursuant to the 1888 Act and how those funds

and any accrued interest of such funds have been used for the benefit and support of the Plaintiff.

          373.   Plaintiff does not have an adequate remedy at law to obtain an accounting from

defendants.



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                     COUNT XV – VIOLATION OF TREATY OF 1868
          (Claims against the United States of America and Bureau of Indian Affairs)

          374.   Plaintiff incorporates by reference paragraphs 1-373 as though fully set forth

herein.

          375.   The Treaty with the Eastern Band Shoshoni and Bannock, July 3, 1868, 15 Stat.

673, 2 Kappler 1020 contains the express promise from the United States that Reservation lands

were “set apart for the absolute and undisturbed use and occupation” of the Tribes. Treaty,

Article 2.

          376.   The Treaty also contains the United States’ promise and “solemn agree[ment]”

that no unauthorized person “shall ever be permitted to pass over, settle upon, or reside [on the

Reservation].” Treaty Article 2.

          377.   In 1878, the Utah and Northern Railroad Company built a road and railway from

south to north across the Reservation without permission.

          378.   Despite the referenced Treaty promises, the United States permitted the Utah and

Northern Railroad Company to pass over and settle upon the Reservation.

          379.   Despite the referenced Treaty promises, the United States permitted the Utah and

Northern Railroad Company to disrupt the absolute and undisturbed use and occupation of the

Reservation by the Tribes.

          380.   The 1878 trespass by the Utah and Northern Railroad Company was officially

recognized by Congress. 25 Stat. 452, Art. I. See Act of 1888.

          381.   The Tribes objected to the trespass by the Utah and Northern Railroad Company,

but nothing was done by the United States of America or the Bureau of Indian Affairs to remove

the road or North/South railway line.




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          382.   The inaction and omissions by the United States and Bureau of Indian Affairs

regarding the trespass caused damages to the Tribes.

          383.   The United States’ violation of the Treaty disqualifies the United States from

lawfully claiming an interest in lands underlying the very trespass it allowed, or ending up with

the land related to the subsequent necessary conveyances under the Agreements of 1881 & 1887.

          384.   The Bureau of Indian Affairs’ violation of the Treaty obligates the Bureau of

Indian Affairs to remedy the trespass by undertaking actions to place lands underlying the

trespass that have ceased being used for railroad purposes in the ownership and possession of the

Tribes.

  COUNT XVII – MISAPPROPRIATION OF RIGHT OF WAY CONSIDERATION IN
                     VIOLATION OF THE ACT OF 1882
                   (Claim against United States of America)

          385.   Plaintiff incorporates by reference paragraphs 1-384 as though fully set forth

herein.

          386.   The Act of 1882 contains an express obligation on the United States to

appropriate the consideration for the right of way as a credit to the Tribes, “in addition to any and

all sums to which the above-named Indians [were] entitled by treaty.” Act of 1882.

          387.   The United States did not appropriate the right of way consideration to the Tribes’

credit in addition to sums to which the Tribes were already entitled by the Fort Bridger Treaty of

1868.

          388.   The $6,000 payment as consideration for the right of way granted by the Act of

1882 was used to satisfy pre-existing Treaty obligations of the United States.

          389.   The United States did not separate, earmark, or appropriate the $6,000.00

consideration payment for the railroad right of way to the Tribes’ credit in a manner that ensured




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it would be expended for costs the United States was not already obligated to pay. Instead, the

United States used the $6,000 to pay for pre-existing Treaty obligations, thus saving itself from

having to spend its own funds on Treaty obligations.

       390.    The disbursements made directly to the Tribes show no payment of $6,000.00 to

the Tribes. GSA Report, 34-35.

       391.    The GSA Report demonstrates that the $6,000 consideration for the right of way

money was used to provide for things such “Industrial Assistance, Irrigation, Provisions, etc.”

GSA Report, 35.

       392.    “Industrial Assistance, Irrigation, Provisions, etc.” were items that the federal

government was already providing to the Tribes pursuant to Treaty obligations.

       393.    The United States of America thus violated the Act of 1882 and the express

condition regarding appropriation of the consideration for the right of way granted thereby.

       394.    The misappropriation of the $6,000 consideration for the right of way lands

subject to the Act of 1882 damaged the Tribes.

       395.    The United States’ actions to misappropriate the consideration owed to the Tribes

disqualifies the United States from receiving any benefit of the conveyance of land interest

associated with the Act of 1882, including receipt by the United States of any interest in the

lands to the exclusion of the Tribes, upon termination of the right of way.

                                       ATTORNEY FEES

       By reason of Defendants’ conduct, Plaintiff has been required to retain the services of

legal counsel to pursue this action. Plaintiff is entitled to an award of costs under Rule 54 of the

Federal Rules of Civil Procedure, and reasonable attorney fees under the bad faith exception to




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the American Rule. Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 258-59

(1975).

          Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Shoshone-Bannock Tribes of the Fort Hall Reservation requests

and prays that judgment be entered against Defendants as follows:

          A.     For a Declaration from this Court that:

                 1.      The Tribes have a reversionary interest in right of way lands granted under

          the Act of 1882 and the Act of 1888;

                 2.      Any lands that revert to the Tribes pursuant to their reversionary interest

          under either Act are held in trust by the United States;

                 3.      The 1882 and 1888 Acts granted UPR an easement only; and

                 4.      When UPR ceased to use any portion of either easement for railroad

          purposes, UPR’s interest in said portion was extinguished and all right, title, and interest

          reverted to the United States in trust for the benefit of the Shoshone-Bannock Tribes

          automatically by operation of law;

                 5.      The termination of UPR’s easement is based on the act of non-railroad

          use, and not on the legal instrument UPR may choose to use to express relinquishment at

          a time frame UPR may choose;

                 6.      The Fort Hall Reservation as presently constituted satisfies the

          qualification of the Tribes’ reversionary interest, that the Tribes continue to occupy the

          reservation; and

                 7.      The Bureau of Land Management has no interest or possibility of an

          interest in any portion of the easement by virtue of either the 1882 or 1888 Acts; and


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               8.     Any attempt by UPR to transfer or convey any interest in any portion of

       the easement for non-railroad use to any party, except the United States in trust for the

       Tribes, is void ab initio; and that, any attempt by BLM to transfer or convey any interest

       or license to any person other than the Tribes or to the BIA for the benfit of the Tribes, in

       any portion of the City Creek Trailhead is void ab initio.

       B.      For a writ of mandamus that:

               1.     the BIA and United States immediately approve the Tribes’ litigation

       assistance request regarding the claims in this civil action;

               2.     the BIA immediately record in the Land Titles and Records Office the

       Tribes’ interest in the two parcels relinquished in 1964 and 1989, and the three parcels

       sold or leased known as the Parking Lot, Bus Depot Building, and Credit Union Building;

               3.     the BIA take action to enforce trespass regulations against any non-

       railroad uses of right of way lands granted under the Acts of 1882 or 1888;

               4.     the BIA take action to cancel UPR’s right of way for any non-railroad use

       parcels of right of way lands;

               5.     the BLM immediately transfer the parcel of land relinquished by UPR in

       1989 from its inventory of lands to the BIA, to be held in trust for the Tribes; and,

               6.     that the BLM conduct a survey of all right of way lands granted under the

       Act of 1882 and the Act of 1888 to ascertain whether there are any non-railroad uses of

       right of way lands.

       C.      For an Order that the BIA conduct an accounting and report to the Tribes

regarding the use of the consideration to be paid to the Tribes under the Act of 1882 and the Act

of 1888;




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       D.      For an Order quieting title in the Tribes favor, establishing ownership for the

Tribes to the two parcels relinquished in 1964 and 1989, and the three parcels sold or leased

known as the Parking Lot, Bus Depot Building, and Credit Union Building, and quieting claims

adverse to the Tribes’ for those parcels;

       E.      For an Order disqualifying the United States from owning any land interests the

Tribes ceded under the Act of 1882 or the Act of 1888; and

       F.      That Plaintiff be awarded such other and further relief as the Court deems just and

equitable under the circumstances.

       DATED this 26th day of June, 2018.

                                             ECHO HAWK AND OLSEN, PLLC


                                             By: /s/ Mark A. Echo Hawk
                                               Mark A. Echo Hawk
                                               Attorney for Plaintiff

                                             SHOSHONE-BANNOCK TRIBES


                                             By: /s/ William Bacon ________________________
                                               William Bacon
                                               General Counsel




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                                           VERIFICATION

STATE OF IDAHO                  )
                                )ss.
County of Bannock               )

        I, Nathan Small, declare as follows:

        1.      I am Chairman of the Fort Hall Business Council, governing body of the Plaintiff

in the present case, a citizen of the United States of America and a resident of the State of Idaho.

        2.      I have personal knowledge of myself, my activities, and my intentions, including

those set out in the foregoing Verified Complaint, and if called on to testify I would competently

testify as to the matters stated herein.

        3.      I verify under penalty of perjury under the laws of the United States of America

that the factual statements in this Verified Complaint concerning the Shoshone-Bannock Tribes

and its history and activities are true and correct.

        Executed on this 22nd day of June, 2018.


                                                /s/ Nathan Small
                                                Chairman Nathan Small


        SUBSCRIBED AND SWORN TO before me this 22nd day of June, 2018.



                                                /s/ Cathy Coby
(SEAL)                                          Notary Public for Idaho
                                                Residing at: Bingham County, Idaho
                                                Commission expires: 11/26/2019




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                               Exhibits to Verified Complaint

Ex. No.    Title/Description                                                Bates No.

1          Treaty with the Eastern Band Shoshoni and Bannock, 1868            SBT 0000001-
                                                                              SBT 0000005
2          Executive Orders, June 14, 1867 and July 30, 1869                  SBT 0000006-
                                                                              SBT 0000008
3          Act of 1888 (25 Stat. 452)                                         SBT 0000009-
                                                                              SBT 0000014
4          Congressional Record, April 13, 1882, 47th Congress, 1st Session   SBT 0000015-
                                                                              SBT 0000017
5          Proceedings of Council, Fort Hall Indian Agency, July 18, 1881     SBT 0000018-
                                                                              SBT 0000027
6          Agreement of July 18, 1881                                         SBT 0000028-
                                                                              SBT 0000036
7          Letter to Commissioner of Indian Affairs from Secretary Kirkwood, SBT 0000037-
           October 1, 1881                                                    SBT 0000038
8          Act of 1882 (22 Stat. 148)                                         SBT 0000039-
                                                                              SBT 0000041
9          Solicitor’s Opinion, November 29, 2005                             SBT 0000042-
                                                                              SBT 0000047
10         GSA Report re: Petition of Shoshone-Bannock Tribes, October 15, 1968
                                                                              SBT 0000048-
                                                                              SBT 0000174
11         Proceedings of Council, Fort Hall Indian Agency, May 27, 1887      SBT 0000175-
                                                                              SBT 0000191
12         Relinquishment of 3.27 Acres, June 30, 1964                        SBT 0000192-
                                                                              SBT 0000194
13         UPR Letter to BLM enclosing Relinquishment, July 28, 1964          SBT 0000195

14         BLM Acceptance of Partial Relinquishment, February 11, 1965      SBT 0000196

15         UPR Notice of Partial Relinquishment, December 6, 1989           SBT 0000197-
                                                                            SBT 0000201
16         UPR Letter to Portneuf Greenway Committee, May 23, 1991          SBT 0000202

17         IDI-29271, BLM Right-of-Way to City of Pocatello, March 24, 1993 SBT 0000203-
                                                                            SBT 0000207
18         SBT Letter to BLM, January 27, 2004                              SBT 0000208-
                                                                            SBT 0000209
19         Bill of Sale, Bus Depot, October 1, 1998                         SBT 0000210-
                                                                            SBT 0000211
20         Lease of Bus Depot to City of Pocatello from UPR, March 22, 1999 SBT 0000212-
                                                                            SBT 0000219
21         Lease of Parking Areas to City of Pocatello from UPR, March 6,   SBT 0000220-
           1952                                                             SBT 0000258


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Ex. No.    Title/Description                                                   Bates No.

22         Instrument No. 558615, Warranty Deed                                SBT 0000259

23         Supplemental Agreement, Union Pacific and Ricks Pool and Spa        SBT 0000260-
           Service, December 17, 2013                                          SBT 0000264
24         Letter to UPR from BIA Northwest Regional Office (S. Speaks),       SBT 0000265-
           January 31. 2012                                                    SBT 0000267
25         Memo to BIA Portland Area Director from Office of Regional          SBT 0000268-
           Solicitor, January 15, 1980                                         SBT 0000274
26         Memo from BIA Property re: 10-acre tract to quitclaim to LDS        SBT 0000275
           Church, March 25, 1960
27         Memo to BIA Portland from Office of Regional Solicitor, April 19,   SBT 0000276-
           1962                                                                SBT 0000278
28         Memo to BIA Real Property Management from Office of Regional        SBT 0000279-
           Solicitor, Portland, February 9, 1972                               SBT 0000282
29         Memo to BIA Real Property from Assistant Regional Solicitor,        SBT 0000283-
           March 22, 1973                                                      SBT 0000286
30         Memo to Portland Area Director from Office of Regional Solicitor,   SBT 0000287-
           January 2, 1997                                                     SBT 0000292
31         Memo to UPR from Office of Regional Solicitor, September 30,        SBT 0000293-
           1999                                                                SBT 0000303
32         Letter to Regional Solicitor from Counsel for Shoshone-Bannock      SBT 0000304-
           Tribes, February 14, 2013                                           SBT 0000305
33         Letter to Superintendent, Fort Hall Agency, from Counsel for        SBT 0000306-
           Shoshone-Bannock Tribes, September 30, 2013                         SBT 0000328
34         Letter to Superintendent, Fort Hall Agency, from Shoshone-Bannock   SBT 0000329-
           Tribes, September 28, 2015                                          SBT 0000352
35         Email to Solicitor from Counsel for Shoshone-Bannock Tribes,        SBT 0000353
           January 25, 2016
36         Letter to US Department of Justice/US Attorney, Idaho from          SBT 0000354-
           Counsel for Shoshone-Bannock Tribes, December 21, 2010              SBT 0000361
37         Letter to BIA Regional Director and Superintendent, Fort Hall       SBT 0000362-
           Agency, from Shoshone-Bannock Tribes, January 25, 2011              SBT 0000363
38         Letter to BIA Fort Hall Agency from Counsel for Shoshone-Bannock    SBT 0000364-
           Tribes, March 3, 2011                                               SBT 0000365




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